     Case 2:11-cr-00181-WFN   ECF No. 344   filed 04/26/12   PageID.714 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,            ) No. CR-11-181-WFN-10
 6                                          )
                Plaintiff,                  ) ORDER DENYING MOTION TO MODIFY
 7                                          )
       v.                                   )
 8                                          )
       DONALD B. CUMMINGS,                  )
 9                                          )
                Defendant.                  )
10                                          )
                                            )
11
12          The Motion to Modify (ECF No.          333) is DENIED.       While it is a

13    positive step Defendant has taken in finding employment, there is

14    insufficient     structure      in     the     release      plan    to    permit

15    supervisability.

16          IT IS SO ORDERED.

17          DATED April 26, 2012.

18
19                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING MOTION TO MODIFY - 1
